                                                                          THIS ORDER IS APPROVED.


                                                                          Dated: December 30, 2017


 1   Wayne Mortensen (#18519)
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     Mesa, Arizona 85203                                                  Brenda Moody Whinery, Bankruptcy Judge
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 6
                           IN THE UNITED STATES BANKRUPTCY COURT
 7
                                  FOR THE DISTRICT OF ARIZONA
 8

 9   In re:                                        )   In Proceedings Under
                                                   )   Chapter Thirteen
10   JORGE A. ROSADO                               )
     SS# ***-**-4779                               )   Case No. 4-17-bk-14010-BMW
11                                                 )
     and                                           )   ORDER RE: AUTOMATIC STAY
12                                                 )
     DIANETTE ROSADO                               )
13   SS# ***-**-4068                               )
                                                   )
14                                   Debtors.      )

15
              JORGE A. ROSADO and DIANETTE ROSADO having requested that the automatic
16
     bankruptcy stay be continued in this case pursuant to 11 U.S.C. section 362 ( c ) ( 3 ) (B), the Court
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     having considered that request, the Motion having been noticed to all parties on November 28, 2017
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     and no objections having been made, and good cause appearing,
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              IT IS HEREBY ORDERED that the automatic bankruptcy stay shall NOT expire as
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     contemplated in 11 U.S.C. section 362 ( c ) ( 3 ).
21
              IT IS FURTHER ORDERED that the automatic stay shall remain in effect unless or until
22
     modified by further order of the Court.
23

24

25                                                         SIGNED AND DATED ABOVE

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